Case 1:18-cV-0157O-CFC Document 1-1 Filed 10/11/18 Page 1 of 2 Page|D #: 13

CERTIFICATION OF PLAINTIFF

I, Paul Parshall (“Plaintiff”), hereby declare as to the claims asserted under the federal
securities laws that:

1. Plaintiff has reviewed the complaint and authorizes its filing

2. Plaintiff did not purchase the security that is the subject of this action at the
direction of Plaintiff’ s counsel or in order to participate in any private action.

3. Plaintiff is Willing to serve as a representative party on behalf of the class, either
individually or as part of a group, and l Will testify at deposition or trial, if necessary. l understand
that this is not a claim form and that I do not need to execute this Certiflcation to share in any
recovery as a member of the class.

4. Plaintiffs purchase and sale transactions in the FCB Financial Holdings, Inc.

(NYSE: FCB) security that is the subject of this action during the class period is/are as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PURCHASES SALES
Buy Shares Price per Sell Shares Price per
Date Share Date Share
7/13/18 5 $58.10
Please list additional transactions on separate sheet of paper, if necessary.
5. Plaintiff has complete authority to bring a suit to recover for investment losses on

behalf of purchasers of the subject securities described herein (including Plaintiff, any co-owners,

any corporations or other entities, and/or any beneficial owners).

Case 1:18-cV-0157O-CFC Document 1-1 Filed 10/11/18 Page 2 of 2 Page|D #: 14

6. During the three years prior to the date of this Certification, Plaintiff has not moved
to serve as a representative party for a class in an action filed under the federal securities laws.

7. Plaintiff Will not accept any payment for serving as a representative party on behalf
of the class beyond Plaintiff`s pro rata share of any recovery, except such reasonable costs and
expenses (including lost Wages) directly relating to the representation of the class as ordered or
approved by the Court.

I declare under penalty of perjury that the foregoing is true and correct

Executed this _Qi/_i day of October, 2018.

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